Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 1 of 49




                                                                      2
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 2 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 3 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 4 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 5 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 6 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 7 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 8 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 9 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 10 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 11 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 12 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 13 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 14 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 15 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 16 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 17 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 18 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 19 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 20 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 21 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 22 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 23 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 24 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 25 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 26 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 27 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 28 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 29 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 30 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 31 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 32 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 33 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 34 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 35 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 36 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 37 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 38 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 39 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 40 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 41 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 42 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 43 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 44 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 45 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 46 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 47 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 48 of 49
Case 2:21-cv-01834-EEF-MBN Document 1-2 Filed 10/06/21 Page 49 of 49
